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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

Secure Ink LLC,

                       Plaintiff,
                                                     Case No. 6:24-cv-00077-KC
         v.
                                                     Jury Trial Demanded
M-Files, Inc.,

                       Defendant.


                    UNOPPOSED MOTION FOR EXTENSION OF TIME
                    TO MOVE, ANSWER, OR OTHERWISE RESPOND

          Plaintiff Secure Ink LLC (“Plaintiff”) files this Unopposed Motion for Extension of Time

 for Defendant M-Files, Inc. (“Defendant”) to answer, move or otherwise respond to the

 Complaint.

          Defendant’s response to the Complaint is currently due on April 1, 2024. Good cause

 exists to extend the deadline. Defendant continues investigating Plaintiff’s Complaint, the claim

 embodied therein, and their factual contentions. Counsel for Plaintiff has conferred with counsel

 for Defendant, and this request is unopposed. Accordingly, Defendant’s new deadline will be

 May 1, 2024, under the unopposed 30-day extension.

          The extension sought by this motion is the second extension of this deadline. The parties

 do not make this request for the purpose of delay, but so that justice may be efficiently served.

          Accordingly, Plaintiff requests that the Court grant this Unopposed Motion and extend the

 time for Defendant to answer, move, or otherwise respond to Plaintiff’s Complaint to May 1,

 2024.

Dated: March 28, 2024                        Respectfully submitted,

                                             s/ Isaac Rabicoff
                                             Isaac Rabicoff
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                              CERTIFICATE OF CONFERENCE

         In compliance with Local Rule CV-7(i), counsel for Plaintiff and counsel for Defendant

 conferred regarding the motion for extension of time on March 28, 2024. Counsel for Defendant

 does not oppose this motion and the extension sought hereby.


                                                    /s/ Isaac Rabicoff
                                                    Isaac Rabicoff




                                 CERTIFICATE OF SERVICE
       The undersigned certifies that a copy of the foregoing document was served on all parties

who have appeared in this case on March 28, 2024, via the Court's CM/ECF system.


                                                    /s/ Isaac Rabicoff
                                                    Isaac Rabicoff




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